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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 22-159 (WMW/TNL)

 UNITED STATES OF AMERICA,

                      Plaintiff,                          GOVERNMENT’S MOTION TO
                                                            UNSEAL INDICTMENT
        v.

 SHAMIR NATHANN BLACK,

                     Defendant.

       The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Lauren O. Roso, Assistant United

States Attorney, hereby moves the Court to unseal the indictment in this matter.

       The defendant Shamir Nathann Black was indicted on charges of carjacking and

discharge of a weapon during and in relation to a crime of violence on July 27, 2022. (Dkt.

No. 11.) At that time, the government made, and the Court granted, an oral motion to seal

the indictment until the defendant made his first appearance. (Dkt. Nos. 13 and 14.)

However, as the defendant previously made an initial appearance on a related complaint

on June 28, 2022, this oral motion was in error. Accordingly, the government now moves

the Court to unseal the indictment in this matter.

Dated: August 2, 2022
                                                     Respectfully Submitted,

                                                     ANDREW M. LUGER
                                                     United States Attorney

                                                     s/ Lauren O. Roso
                                                     BY: LAUREN O. ROSO
                                                     Assistant U.S. Attorney
